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 4
     Attorney for Defendant
 5   DANIEL HARRISON
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 7                          UNITED STATES DISTRICT COURT
 8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10                                       ) Case No.: Cr.S-10-0223-JAM
     UNITED STATES OF AMERICA,           )
11                                       )
                 Plaintiff,              ) APPLICATION AND ORDER TO
12                                       ) CONTINUE SENTENCING TO
           vs.                           ) FEBRUARY 4, 2014
13                                       )
     DANIEL HARRISON,                    )
14                                       ) Hon. John A. Mendez
                 Defendant.              )
15                                       )
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17         This matter is before the Court on December 10th, 2013 at
18
     9:45 a.m. for sentencing.      Counsel for the defense is requesting
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     a continuance to February 4, 2014 at 9:45 a.m. to further
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     prepare for sentencing.      Government counsel, Assistant United
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22   States Attorney Philip Ferrari, is not opposing this request.

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           Case 2:10-cr-00223-JAM Document 513 Filed 12/04/13 Page 2 of 2


          IT IS ORDERED that this matter is to be continued from
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 2   December 10th, 2013, at 9:45 a.m., to February 4, 2014, at 9:45

 3   a.m. for Judgment and Sentencing.
 4

 5
     Dated: December 4, 2013
 6

 7
                                 /s/ John A. Mendez_________________
 8                               JOHN A. MENDEZ
                                 UNITED STATES DISTRICT COURT JUDGE
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